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                             EXHIBIT 16
    Declaration of Ari Bargil in Support of Plaintiffs’ Motion for Summary Judgment
                  on Liability and Incorporated Memorandum of Law
Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 2 of 85 PageID 11838




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          D3 - Actionable Intelligence (3 MAR 16) WORKING COPY V2




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                                                            Exhibit 16 - Page 2 of 84

                                                                            Defendant14802
Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 4 of 85 PageID 11840



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                                                                                                                Exhibit 16 - Page 3 of 84

                                                                                                                                                         Defendant14816
Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 5 of 85 PageID 11841



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                                                                                 Exhibit 16 - Page 4 of 84

                                                                                                               Defendant14817
Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 6 of 85 PageID 11842



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                                                            Exhibit 16 - Page 5 of 84

                                                                            Defendant14819
Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 7 of 85 PageID 11843




                                                     Exhibit 16 - Page 6 of 84

                                                                Defendant14820
Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 8 of 85 PageID 11844



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           W/F,
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                                        AKABOBBYJONES–29
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                                                                         Exhibit 16 - Page 7 of 84

                                                                                         Defendant14824
Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 9 of 85 PageID 11845




                                     B
                     D3 - Actionable Intelligence (10 MAR 16)




                                                     Exhibit 16 - Page 8 of 84
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                ACTIONABLE INTELLIGENCE
                         Law Enforcement Sensitive




                     DISTRICT 3
                    CAPT JENKINS

      MELINDA WERNER/
    ALEX NAVARRO MCGAHA
                                (DISTRICT ANALYST)
                                    (12 - hours)




                                                                   Exhibit 16 - Page 9 of 84
                                                                                Defendant15321
                  Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 11 of 85 PageID 11847


                                    ACTIONABLE INTELLIGENCE
                                                Law Enforcement Sensitive
                                               AIM MEETING NOTES
                                                   03/01/2016
TARGET OF THE MONTH: NEW TARGET OF THE MONTH,                          INTRODUCED.

TOP 5:
           : DEP COLLINS: STILL DETAINED, IS IN CONFINEMENT RIGHT NOW.                   IS USING HIS EMAIL ACCOUNT RIGHT NOW TO
CONTACT                  AND PASS PHONE NUMBERS. CAPT REQUESTED ATTENTION BE PAID TO                     WHILE          IS IN.
            SAID THAT       HAD COURT YESTERDAY AND IT LOOKS LIKE SHE MAY BE SENT BACK TO JUVENILE COURT.
JONES: DEP BOLLENBACHER ATTEMPTED CONTACT, DAD NOT ANSWERING DOOR. WILL BE TAKING CPL CELESTE (CODE ENFORCEMENT) WITH
HIM TO VISIT DAD. INFORMANT TOLD                   THAT JONES’ YOUNGER SIBLINGS HAD A LEMONADE STAND, LOCAL DRUG DEALERS CAME
BY AND YELLED TO STOP TAKING AWAY THEIR BUSINESS. IT APPEARS THE YOUNGER ONES ARE BEING USED AS LOOKOUTS.
         : DEP BOLLENBACHER: RECEIVED WORD HE WAS GOING TO HANG OUT NEAR RIVER RIDGE LAST WEEK BUT DIDN’T OCCUR.
IS OUT, FAMILY HAS LEFT HIM SO NOT SURE WHO HE IS WITH, MOM IS IN NY. NOT SURE WHERE HE IS. DET SHADRICK SAID             HAD
COURT YESTERDAY BUT STILL NO DETERMINATION ABOUT WHERE HIS CASE IS GOING.
         : DEP COLLINS: ARRESTED 2/21 BY TARPON SPRINGS FOR ROBBERY BY SUDDEN SNATCHING. THERE WAS A TIP THAT
        FATHER WAS GOING TO ALLOW                    TO STAY WITH HIM WHEN HE GETS OUT AS LONG AS HE STAYS OUT OF TROUBLE.
          : DEP WILLIAMSON: STILL SAYS HE’S LOOKING FOR A JOB. HAS A BICYCLE HE RIDES AROUND ON, IS ALWAYS THERE WHEN
WILLIAMSON GOES BY EXCEPT FOR ONLY A FEW TIMES. INFO RECEIVED THAT HE’S BEEN SMOKING MARIJUANA BUT NOT DOING ANYTHING
WILD.

PCU:
      : OAK RIDGE, HAS SOME PRINTS
         : NATURE’S HIDEAWAY, HAS SOME PRINTS. 2015 HYUNDAI SONATA, PINELLAS HAD A STOLEN VEH, ON STAR PINGED OFF GREY FOX,
VEHICLE EVENTUALLY LOCATED AT                    , IN NPR’S JURISDICTION, SET UP ON HOUSE, K9 DID A TRACK, PICKED ONE UP FROM CAR
INTO ENTRY TO HOUSE. 1 FEMALE JUVENILE CAME OUT OF HOUSE, RUNAWAY, BUT NOT HABITUAL. 3 MALES CAME OUT,                            ,
DONNIE MCDOUGALL AND                         . INTERVIEWED ALL 3, ENDED UP ARRESTING                      , CONFESSED, WOULDN’T SAY
WHO ELSE WAS IN THE CAR, SAID HE WAS IN THE BACK PASSENGER SEAT. SAID HE DIDN’T WANT TO GET HIS “COUSIN” (                     ) IN
TROUBLE.                       WAS FEMALE IN THE CAR.
          : RESEARCHED 370Z’S, ONLY 13 IN PASCO, SILVER, THERE’S ONE AT THE NE CORNER OF FOXWOOD. TRYING TO TIE IT TO HERITAGE
SPRINGS.
                                                                                                   Exhibit 16 - Page 10 of 84
                                                                                                                   Defendant15331
               Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 12 of 85 PageID 11848


                               ACTIONABLE INTELLIGENCE
                                          Law Enforcement Sensitive

                                              DISTRICT 3
                                                TOP 5
                                                                           ROBERT ARTHUR JONES, IV,
                           -104               Number after                 AKA BOBBY JONES – 22
B/M, DOB:
LKA:                            (I3)          name represents              W/M; DOB       /99
                                                                           LKA: 3810 HEADSAIL DR , NPR (I2)
CRIMINAL ACTIVITY: PROPERTY CRIMES            days on target list          CRIMINAL ACTIVITY: BURGLARY, NARCOTICS
SANCTIONS: N/A (CHARGES PENDING)
                                                                           SANCTIONS: N/A (CHARGES PENDING)




                                                       – 74
                 - 22                  B/M;
W/M, DOB:                              LKA:                                                          - 22
LKA:                   (I2)                   , FREQUENTS                    B/M, DOB:
CRIMINAL ACTIVITY: PROPERTY CRIMES,                        (I5)              LKA:                        (I5)
TRESPASSING, LOITERING                 CRIMINAL ACTIVITY: VEHICLE THEFT,     CRIMINAL ACTIVITY: VEHICLE THEFT,
SANCTIONS: N/A (CHARGES PENDING)       BURGLARY, NARCOTICS.                  NARCOTICS; FALSE ID TO LEO
                                                                             SANCTIONS: N/A (CHARGES PENDING)
                                       SANCTIONS: N/A (CHARGES PENDING)
                                                                                 Exhibit 16 - Page 11 of 84
                                                                                               Defendant15338
Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 13 of 85 PageID 11849



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                                                                                                                                                                                                               Defendant15338
Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 14 of 85 PageID 11850




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                    D3 - Actionable Intelligence (7 APR) FINAL




                                                    Exhibit 16 - Page 13 of 84
                                ACTIONABLE INTELLIGENCE
                                    Law Enforcement Sensitive




                                   DISTRICT 3
                                  CAPT JENKINS

                               MELINDA WERNER/
                             ALEX NAVARRO MCGAHA
                                        (DISTRICT ANALYSTS)
                                             (10- hours)




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                                                                Defendant15105
                                                                           ACTIONABLE INTELLIGENCE
                                                                                         Law Enforcement Sensitive
                     **STARS REPRESENT PREVIOUS AUTO BURGLARIES,
                                                                                                                                       16-11802, 11815, 11961, 11968, 11971,
                                                                                     D3 Big Four Data – IDA                            12003, 12015, 12019, 12030, 12061,
                     SQUARES REPRESENT ACTIVITY OCCURRING AFTER
                                       4/3/16**
                                                                                                                                       12071, 12072, 12074, 12076, 12122,
                                                                                       (03/28 – 04/03/16)                              13182, 13184: ȋ Ȁ  
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                                                                                                               BOBBY JONES, JR                 BOBBY JONES, SR
                                                                                                                       /99                             /77




                                                                                                                             KAMAL CAMPBELL                   SEMIEOSHI STRIKER
                                                                                                                                10/1/98                            6/21/99
                             UPDATE: BOBBY JONES, JR STILL IN JDC, EXPECTED RELEASE DATE IS 4/19/16. JONES, SR AND      BONDED OUT. SEMIEOSHI STRIKER, BM, 6/21/99 WAS MENTIONED AS
                             A POI, DET WILLIAMSON IS FOLLOWING UP REGARDING HIS POSSIBLE INVOLVEMENT. ADDITIONAL ACTIVITY OCCURRED THE NIGHT OF 4/4/16; A BLACK DODGE RAM, FL
                             TAG         WAS STOLEN FROM                    (16-13184). ALSO ON MARLIN DR, 3 UNSECURED VEHICLES WERE RUMMAGED THROUGH AND ONE OF THE VICTIMS SAW
                             A MALE SUSPECT LEAVING IN A BLACK DODGE RAM (16-13182). AN ADDITIONAL WITNESS SAW A BLACK DODGE TRUCK AND A RED JEEP PATRIOT LEAVING. THE DRIVER OF
                             THE DODGE WAS A WM, APPRX 20 YRS OLD, WITH SHORT BROWN HAIR. THE RAM IS EQUIPPED WITH AN ONSTAR TYPE DEVICE AND HAD GPS HITS IN CLEARWATER.

                             BETWEEN 03/26/16 AND 03/28/16 A TOTAL OF 13 REPORTS WERE TAKEN INVOLVING APPROXIMATELY 20-25 AUTO BURGLARIES IN THE FLORAMAR AREA/GULF HARBORS
                             AREA. THE MAJORITY OF THE VEHICLES WERE UNLOCKED AND VARIOUS ITEMS WERE TAKEN INCLUDING WALLETS, GUNS, MONEY ELECTRONICS. SIGNBOARDS HAVE BEEN
                             PLACED AT THE LOCATION WARNING THE PUBLIC TO LOCK THEIR VEHICLE DOORS. TRASH PULLS AND SURVEILLANCE WERE SUBSEQUENTLY CONDUCTED. AS A RESULT OF
                             THE TRASH PULLS ACE AND STAR WERE ABLE TO LINK 3 CASE NUMBERS, SPANNING 2 DAYS OF AUTO BURGLARIES TO PROPERTY LOCATED IN THE TRASH. WITH THE RESULTS
                             OF THE PULLS AND ADDITIONAL INTEL, A SEARCH WARRANT WAS ABLE TO BE OBTAINED AND SERVED ON BOBBY JONES’ HOME. THE JONES’ HOME, AS APOINT OF
                             REFERENCE (CIRCLED ON MAP), IS LOCATED AT 3810 HEADSAIL DR. BOBBY JONES, JR IS GOING TO BE CHARGED WITH AUTO BURGLARY AND POSSESSION OF MARIJUANA
                             AND BOBBY JONES, SR, WITH CHILD NEGLECT AND POSSESSION OF MARIJUANA. ALSO IN THE HOME AT THE TIME THE SEARCH WARRANT WAS SERVED, WAS
                             AND A BABY FOR WHOM SHE WAS CARING.            WAS NOT CHARGED.

                             ACTION REQUIRED: CONTINUE TO INCREASE PATROLS BETWEEN THE HOURS OF 2300 AND 0800 AND FIR ANYONE IN THE AREA DURING THE OVERNIGHT HOURS.




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                             AIM NOTES: 3/30/16, BURGLARIES DISCUSSED, WERE WORKED AS A JOINT EFFORT BETWEEN ACE, STAR, PCU. THE GOAL IS TO CHARGE BOBBY JONES, JR WITH ALL OF THE BURGLARIES. IT’S
                                                                                                                                                                                                         Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 16 of 85 PageID 11852




                             POSSIBLE THAT KAMAL CAMPBELL AND SEMIOSHI STRIKER WERE ALSO INVOLVED.                                                                                   I2.5 (03/29/2016)
                                                                ACTIONABLE INTELLIGENCE
                                                                           Law Enforcement Sensitive
                                                                          AIM MEETING NOTES
                                                                              03/31/2016
                             CAPT JENKINS: SENT ANOTHER LETTER TO SAO TODAY REMINDING THEM THEY WERE ASKED IN OCT TO DIRECT FILE BOBBY JONES, JR AND WE
                             ARE ASKING AGAIN FOR DIRECT FILING. DET WILLIAMS ASKED TO GET A CLOSER DATE FOR INVEST AND TO ASK THE SAO AGAIN TO DIRECT FILE.
                             PCU:
                             SGT THOMAS: WORKING WITH SAO, CAME UP WITH SOME PAPERWORK WITH CRIMINAL CASE INFORMATION FROM PINELLAS COUNTY, LOOKS
                             LIKE IT’S BEING PROVIDED INAPPROPRIATELY BY SOMEONE CONNECTED WITH BOBBY JONES. IT SEEMS LIKE THE JONES’ ARE STAYING A STEP
                             AHEAD OF PSO.
                             POLSON: THERE IS A TREND OF TAILGATE THEFTS FROM PASCO, PINELLAS AND POSSIBLY POLK COUNTY PART OF A BIGGER SCHEME OUT OF
                             TEXAS, WHERE PERSON HAS LEGITIMATE CAR BUSINESS AND COMES TO FLORIDA AND WILL MAKE PURCHASES. A SUSPECT WAS CAUGHT AND
                             ARRESTED ATTEMPTING TO STEAL TAILGATE FROM F250.
                             ZOCCOLI: NICK SURACE SENTENCED TO 10 YRS DOC

                             TARGET OF THE MONTH/             : SWEENEY WENT TO THE GENESIS ADDRESS, NOT THERE. HIS TRUCK DOESN’T WORK AND HE’S LIVING
                             UNDER A BRIDGE. HE’S BEEN SEEN IN THE AREA BUT IS THOUGHT TO BE GOING COUCH TO COUCH OR HOMELESS.

                             TOP 5:
                             LAMPKIN: COLLINS; EMAIL FROM          TALKING ABOUT S10 THAT GREGORY CARSON WAS DRIVING AND THEY WENT THROUGH A DRIVE
                             THRU. HOLT; GOT JOEFTY RODRIGUEZ FOR STRONG ARM, THIS IS HIS SECOND AND HE IS DOING 21 DAYS.
                             KNIGHTS: MURPHY: HE IS AFRAID OF GOING TO JAIL BECAUSE HE WILL BE LOCKED UP, HE CLAIMS HE IS TRYING TO GET A JOB AND HAS A NEW
                             GIRLFRIEND, MARY LYNN ROBETOY DOB 10/17/98.
                             BLANCO: BOLLENBACHER; STILL IN JDC. JOSHUA LABOMARD ARRESTED AND IS ON HOME DETENTION. OMALLEY’S MOTHER IS SUPPORTIVE
                             AND COOPERATIVE. OMALLEY IS HANGING OUT WITH HIS GIRLFRIEND AND HER BROTHER.
                             JONES: THOMAS; PAPERWORK OF 30 PAGES FOUND AT JONES RESIDENCE, INCLUDE CRIMINAL CASES OF JONES AND CAMPBELL IN PINELLAS
                             AND RECORDS ARE NOT REDACTED.                IS IN PINELLAS PLANNING AND DONNA JONES IS IN AND OUT OF THE JONES HOME, SHE IS
                             NOT LE FRIENDLY. WILLIAMSON; OBTAINED SEARCH WARRANT AND FOUND DRUGS, EVIDENCE OF SELLING THC, AND ITEMS FROM OTHER
                             BURGLARY. ONLY JONES CHARGED WITH TWO BURGLARIES AND OTHER SUSPECTS ARE KAMAL CAMBELL AND SEMI STRIKER. JONES IV AND
                             JONES SR WERE ARRESTED.
                             DELAINE: BOLLENBACHER; WAS PREVIOUSLY UNABLE TO LOCATE AND CONSIDERED HOMELESS, HOWEVER, HE WAS CAUGHT WITH THE HELP




Exhibit 16 - Page 16 of 84
                             OF A RESIDENT THAT CELESTE ISSUED CITATIONS TO.                      IS ON HOME DETENTION. REAGAN; MADE CONTACT WITH
                                                                                                                                                               Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 17 of 85 PageID 11853




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                                                  ACTIONABLE INTELLIGENCE
                                                             Law Enforcement Sensitive
                             Code Enforcement            District 3
                  Date             Defendant      Case          District   Location              Violation                 Fine



                  3/28/16          ROBERT JONES   16012033      3          3810 HEADSAIL DRIVE   Overgrown, house          $374.00
                                                  16012034                                       numbers, trailer
                                                  16012035                                       violation

                  3/31/16                         16012512      3                                Junk and debris X2        $278.00



                  4/1/16                          16012647      1                                Illegal burn,             $2,722.00
                                                  16012656                                       unregistered vehicles
                                                  16012657                                       X5,waste water
                                                  16012658                                       violation, zoning
                                                                                                 violationX2
                  4/1/16                          16012636      1                                7 unregistered vehicles   $1,297.00
                                                  16012637                                       no numbers, unsecured
                                                  16012638                                       refrigerator, junk and
                                                  16012643                                       debris, no house
                                                                                                 numbers
                  4/1/16                          16012666      1                                No house numbers,         $777.00
                                                  16012667                                       unregistered vehicle,
                                                  16012668                                       junk/debris, and
                                                  16012669                                       overgrown grass




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                                                                                                                                       Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 18 of 85 PageID 11854




                                                                                                                      Defendant15117
                                                             ACTIONABLE INTELLIGENCE
                                                                        Law Enforcement Sensitive

                                                                         DISTRICT 3
                                                                           TOP 5
                                                                                                             ROBERT ARTHUR JONES, IV,
                             QUINTON LAMPKIN -139                          Number after
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                                                                     EZRA DELAINE– 109
                             ALEX BLANCO – 57                        B/M; DOB 03/20/2000
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                             ACTIONABLE INTELLIGENCE
                                   Law Enforcement Sensitive




                                  INFO VALID AS OF 04/05/16
                                                     / / 1000 HRS




                                    ROBERTRT A
                                             ARTHUR
                                               RTHUR JJONES,
                                                       ONES IV,
                                       AKA BOBBY JONES – 57
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Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 21 of 85 PageID 11857




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              D3 - Actionable Intelligence (28 APR 16) IN PROGRESS




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                                ACTIONABLE INTELLIGENCE
                                    Law Enforcement Sensitive




                                   DISTRICT 3
                                  CAPT JENKINS

                               MELINDA WERNER/
                             ALEX NAVARRO MCGAHA
                                        (DISTRICT ANALYSTS)
                                             (12- hours)




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                                                                                 Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 22 of 85 PageID 11858




                                                                Defendant16459
                                                                        ACTIONABLE INTELLIGENCE
                                                                                      Law Enforcement Sensitive
                             **STARS REPRESENT PREVIOUS AUTO BURGLARIES           D3 Big Four Data – IDA                                  16-15456, 15404, AND 15401
                                                                                   (04/04 – 04/24/16)                                     ȋ Ȁ   Ȍ
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                                                                                                          ALEX OMAR PACHECO
                                                                                                              12/01/1998




                                                                                                                                          KAMAL CAMPBELL        SEMIEOSHI STRIKER
                                                                                                            BOBBY JONES, JR                 10/1/98                6/21/99
                                                                                                                    /99
                             UPDATE: AUTO BURGLARIES CONTINUE IN GULF HARBORS, INCLUDING FIVE VEHICLES AND ONE AUTO THEFT. A WHITE TOYOTA CAMRY FL TAG                 FLED TARPON
                             SPRINGS PD AND AN AOA WAS CALLED TO PSO. VEHICLE OWNERS WERE UNAWARE OF THEFT UNTIL PSO CONTACT, OWNERS HAD THE ONLY TWO SETS OF KEYS IN THEIR
                             POSSESSION. CURRENTLY THERE ARE NO NEW LEADS. JONES WAS STILL DETAINED AT PINELLAS JDC DURING THIS TIME, HOWEVER SINCE THEN HAS BEEN RELEASED AND
                             PACHECO IS STILL CURRENTLY DETAINED.
                             BOBBY JONES, JR STILL IN JDC, EXPECTED RELEASE DATE IS 4/19/16. ALSO ANOTHER SPREE OCCURRED 04/04/16 WHERE THREE UNLOCKED VEHICLES WERE ACCESSED BUT
                             NOTHING STOLEN, HOWEVER, A FOUR VEHICLE WAS STOLEN THAT CONTAINED A PISTOL IN A LOCK BOX. UCONNECT DID LOCATE THE VEHICLE’S COORDINATES AND
                             PINELLAS COUNTY PD ARRESTED ALEX PACHECO AND CHARGED HIM WITH RESISTING AN OFFICER WITH VIOLENCE, GRAND THEFT (VEHICLE AND FIREARM), NO VALID DL,
                             AND LEAVING THE SCENE OF A CRASH INVOLVING PROPERTY DAMAGE. ICONS REPRESENT SPREE FROM 03/26-04/04, TOTALING 38 VEHICLES BEING BURGLARIZED AND/OR
                             THEFT. CAMPBELL DENIED INVOLVEMENT AND STRIKER REFUSED TO TALK, AND CURRENTLY FURTHER EVIDENCE IS NEEDED TO LINK THEM TO THE SPREE. BETWEEN
                             03/26/16 AND 03/28/16 A TOTAL OF 13 REPORTS WERE TAKEN INVOLVING APPROXIMATELY 20-25 AUTO BURGLARIES IN THE FLORAMAR AREA/GULF HARBORS AREA. THE
                             MAJORITY OF THE VEHICLES WERE UNLOCKED AND VARIOUS ITEMS WERE TAKEN INCLUDING WALLETS, GUNS, MONEY ELECTRONICS. SIGNBOARDS HAVE BEEN PLACED AT
                             THE LOCATION WARNING THE PUBLIC TO LOCK THEIR VEHICLE DOORS. TRASH PULLS AND SURVEILLANCE WERE SUBSEQUENTLY CONDUCTED. AS A RESULT OF THE TRASH
                             PULLS ACE AND STAR WERE ABLE TO LINK 3 CASE NUMBERS, SPANNING 2 DAYS OF AUTO BURGLARIES TO PROPERTY LOCATED IN THE TRASH. WITH THE RESULTS OF THE
                             PULLS AND ADDITIONAL INTEL, A SEARCH WARRANT WAS ABLE TO BE OBTAINED AND SERVED ON BOBBY JONES’ HOME. THE JONES’ HOME, AS APOINT OF REFERENCE
                             (CIRCLED ON MAP), IS LOCATED AT 3810 HEADSAIL DR. BOBBY JONES, JR IS GOING TO BE CHARGED WITH AUTO BURGLARY AND POSSESSION OF MARIJUANA AND BOBBY
                             JONES, SR, WITH CHILD NEGLECT AND POSSESSION OF MARIJUANA. ALSO IN THE HOME AT THE TIME THE SEARCH WARRANT WAS SERVED, WAS                      AND A BABY




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                             FOR WHOM SHE WAS CARING.              WAS NOT CHARGED. (ͳ͸ǦͳͳͺͲʹǡͳͳͺͳͷǡͳͳͻ͸ͳǡͳͳͻ͸ͺǡͳͳͻ͹ͳǡͳʹͲͲ͵ǡͳʹͲͳͷǡͳʹͲͳͻǡͳʹͲ͵ͲǡͳʹͲ͸ͳǡͳʹͲ͹ͳǡͳʹͲ͹ʹǡͳʹͲ͹Ͷǡ
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                             ACTION REQUIRED: CONTINUE TO INCREASE PATROLS BETWEEN THE HOURS OF 2300 AND 0800 AND FIR ANYONE IN THE AREA DURING THE OVERNIGHT HOURS.
                             AIM NOTES: n/a                                                                                                                              I2.5 (03/29/2016)
                                                               ACTIONABLE INTELLIGENCE
                                                                          Law Enforcement Sensitive
                                                                         AIM MEETING NOTES
                                                                             04/20/2016
                             CAPT JENKINS: DISCUSSED LOOKING AT THE IMPLEMENTATION OF GHOST CARS SIMILAR TO HOW D2 IS USING THEM. DISCUSSED
                             LABOMBARD’S INVOLVEMENT IN COLONIAL HILLS SPREE. ROBERT JONES HAS MOVED TO PALM HARBOR AND ALL OF STAR WILL VISIT
                             PERIODICALLY TO MAKE PRESENCE KNOWN AND MAINTAIN PRESSURE.

                             PCU:
                             THOMAS: PUTNAM STOLE VEHICLE FROM D1 AND CRASHED OFF MOOG. ARRESTED 4/20/16
                             POLSON: MOTORCYCLES STOLEN OUT OF THOUSAND OAKS EAST, MIGHT BE CONNECTED TO THE ONES FROM D1,                IS A POI. STILL
                             LOOKING AT ADDIITONAL PLAYERS WITH          AND FORMING ADDITIONAL PC FOR HIM.
                             WILLIAMSON: DISCUSSED LABOMBARD ARREST IN COLONIAL HILLS SPREE, HAS PC TO MAKE AN ARREST ON KINGZIG MONTANEZ. CONFESSED
                             TO FOREST HILLS SPREE AND WAS ARRESTED FOR THEM AS WELL, SAID HE CAN’T REMEMBER THE ONES FROM THE PAST, ONLY REMEMBERED
                             FROM THE CURRENT SPREE. WENT TO THE SEARCH WARRANT FOR                     ’S STORAGE UNIT, THERE WERE SEVERAL APPLIANCES
                             BUT UNABLE TO MATCH ALL OF THEM; ADMITTED THAT HE’S CASING NEW CONSTRUCTION TO FIGURE OUT WHEN THEY’RE BEING DELIVERED.

                             TARGET OF THE MONTH: NEW TARGET OF THE MONTH INTRODUCTED,

                             TOP 5:
                             LAMPKIN/COLLINS: LAMPKIN HAS HAD NO RECENT ACTIVITY IN THE JAIL, LAMBROS HANGING OUT WITH SOMEONE NAMES
                             KNIGHTS/MURPHY: NO TRAFFIC OF JUVENILES IN OR OUT OF HOUSE, HE AND MOM SAID HE’S DONE WITH THE LIFE AND IS STAYING OUT OF
                             TROUBLE.           ARRESTED LAST WEEK, ADMITTED TO S-10, NEIBER CONTRADICTING INFO ABOUT WHETHER WARRANT ACTIVE.
                             BLANCO/BOLLENBACHER: BLANCO IN JDC, JOSH LABOMBARD ON HIS WAY TO JDC, MOM HAS BEEN KEEPING OMALLEY AT HOME, PUTNAM AT
                             THE JAC RIGHT NOW.
                             DELAINE/COLLINS: RELEASED EARLY FROM PINELLAS JDC WITHOUT DOING FULL 21 DAYS. A PATROL DEPUTY MADE CONTACT WITH HIM
                             MONDAY, SAID THAT LABOMBARD WAS COMMITTING OFFENSES.                        JUST RELEASED. TIP CAME IN THAT HE WAS IN THE
                             BACKSEAT OF A CAR THAT DID A SHOOTING LAST WEEK OF COOL ROAD. (RESEARCH BY DELAINE IS GETTING RELEASED EARLY)
                             AND ADDITIONAL AUTO BURGLARIES




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                                                                                                                                                            Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 24 of 85 PageID 11860
                                                             ACTIONABLE INTELLIGENCE
                                                                       Law Enforcement Sensitive

                                                                        DISTRICT 3
                                                                          TOP 5
                                                                                                        ROBERT ARTHUR JONES, IV,
                             KING ZIG ALLAH MO
                                            MONTANEZ-4                    Number after
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                                                                         DELAINE– 13
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                                                                    B/M; DOB 03/20/2000
                             ALEXANDER BLANCO – 78                  ǣͶͳͻ ǡ                          -4
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                                                           ACTIONABLE INTELLIGENCE
                                                                  Law Enforcement Sensitive
                             INFO VALID AS OF 04/25/16 1330 HRS          KAMAL CAMPBELL       DANIEL SCOTT “TOO SAVAGE”
                                                                           “BOSSMANE”               W/M 11/22/00
                                                                          B/M 10/01/98         7631 HOLLYRIDGE DR, NPR
                                                                        1313 WOODBINE ST,            (ASSOCIATE)
                                                                           CLEARWATER             DJJ/COMMITMENT
                                                                      (CRIMINAL ASSOCIATE)            PROGRAM
                                                                      REVOKED DL/ JUVENILE
                                                                            PROBATION

                                                                                                       NATHAN GORMAN
                                                                       ROBERT JONES, III
                                                                                                        W/M 05/30/00
                                                                        W/M        /77
                                                                                              2816 COUNTRY BROOK DR, APT L14
                                                                                              2
                                                                      4805 ALT 19 APT 325
                                                                                                        PALM HARBOR
                                                                         COVE SPRINGS
                                                                                                    (CRIMINAL ASSOCIATE)
                                                                          PALM HABOR
                              ROBERT ARTHUR JONES,
                                                 JONE                                                JUVENILE PROBATION
                                                                           (FATHER)
                              IV, “BOBBY”
                              “KLOUT BOY JONES” – 78
                                                                                                  ANNA MENEES
                              Ȁ         Ȁͳͻͻͻ                    “           ”
                                                                                                  W/F 11/18/98
                              POSSIBLE ADDRESS:                         W/F
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                                                                                                   (ASSOCIATE)
                                                              (GIRLFRIEND)
                                                                                                     LOL JAIL
                              CRIMINAL ACTIVITYǣ
                               ǡ
                                                                         NICHOLAS MOJICA           MARYKA BOAS
                                                                  W/M 10/05/98             W/F 11/08/01
                               ǣȀ                           131 SABAL CT APT D,     2079 CORMORANT DR,
                                                                             OLDSMAR               PALM HARBOR
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                                                                      (CRIMINAL ASSOCIATE)          (ASSOCIATE)




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                                                                       JUVENILE PROBATION       JUVENILE PROBATION
                                                                                                                               Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 26 of 85 PageID 11862
                                     ACTIONABLE INTELLIGENCE
                                         Law Enforcement Sensitive
INFO VALID AS OF 04/25/16 1330 HRS
                                                       NICHOLAS SURACE         MATTHEW HERNANDEZ
                                                        W/M 08/22/98              B/M 06/21/00
                                                          (CRIMINAL            854 HUNTA POINT AVE
                                                          ASSOCIATE)                APT 2A, NY
                                                         DOC/PRISON                (ASSOCIATE)
ROBERT ART
       ARTHUR JONES, IV, “BOBBY”                                               JUVENILE PROBATION
“KLOUT BOY JONES”
Ȁ     Ȁͳͻͻͻ
                                                           MATTHEW SKEEN
                                                                “ZEE”
                                                            W/M 03/10/99
                                                          10801 OLDHAM RD,
                                                                 PR
                                                        (CRIMINAL ASSOCIATE)




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                                                                                                     Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 27 of 85 PageID 11863
Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 28 of 85 PageID 11864




                                     E
                       D3 - Actionable Intelligence (12 may)




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Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 30 of 85 PageID 11866




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   hWdϭϮͬϮϵͬϮϬϭϱ͗                               ͛^K&ZKD             dK         ͕Kd,Zt/^͕EK,E'^͖yWdZ>^dϭͬϵͬϭϲ
   hWdϭϮͬϮϮͬϭϱ͗ EtdKWϱD                                 ͕          d>z/        yWdZ>^d/^ϭͬϵͬϭϲ
   hWdϭϮͬϭϬͬϭϱ͗              dZE^&ZZ                     />͖                             DKsdKEz͕/^/Ed,WZK^^K&/E'ZW>
   hWdϭϮͬϴͬϭϱ͗              ZZ^dϭϮͬϴ&KZhZ'>Zz͕                                         Z>^&ZKD:KEϭϮͬϯ
   hWdϭϮͬϭͬϭϱ͗                              ZZ^dϭϭͬϮϲ;W^                                     ZZ^dϭϭͬϮϴ;W^K:/>Ϳ
   hWdϭϭͬϮϰͬϭϱ                             Z^͕                             E                         ͘                 D/^^KhZdKEϭϭͬϭϲ͕&d/^^h͕,KtsZEZZKZt^
   DE/dt^                                 ͛^ED/E^dE                Ed>zd/s/EtZZEd^^z^dD͘
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                                                                                                                                 Exhibit 16 - Page 29 of 84

                                                                                                                                                                                Defendant15453
Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 31 of 85 PageID 11867




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                                                             “             ”         W/M
                                                            B/M
                                                                                       (ASSOCIATE)
                                                                                    DJJ/COMMITMENT
                                                        (CRIMINALASSOCIATE)            PROGRAM
                                                        REVOKEDDL/JUVENILE
                                                             PROBATION

                                                         ROBERTJONES,III
                                                                                       W/M
                                                          W/M        /77
                                                        4805ALT19APT325
                                                           COVESPRINGS
                                                                                    (CRIMINALASSOCIATE)
                                                            PALMHABOR
                ROBERTARTHURJONES,                        (FATHER)
                                                                                     JUVENILEPROBATION
                IV,“BOBBY”
                “KLOUTBOYJONES”– 92
                Ȁ         Ȁͳͻͻͻ                    “            ”
                                                                                    W/F
                POSSIBLEADDRESS:                         W/F

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                                                                                     (ASSOCIATE)
                                                 (GIRLFRIEND)
                                                                                       LOLJAIL
                CRIMINALACTIVITYǣ
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                                                        (CRIMINALASSOCIATE)          (ASSOCIATE)
                                                        JUVENILEPROBATION/       JUVENILEPROBATION
                                                            PINELLASJDC




   hWdϱͬϬϵͬϭϲ͗ :KE^,^hWd,/^>Z^^^,Kt/E'WZKK&Z^/EzdϭϱϳϭDZ>Z^͕
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   hWdϱͬϬϯͬϭϲ͗         t^ZZ^dKEϱͬϬϮ&KZd,&dWd/dE>/D:KE^/^/E:<^KEs/>>t/d,,/^
   DKd,Z
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                                                                                Exhibit 16 - Page 30 of 84

                                                                                                             Defendant15458
Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 32 of 85 PageID 11868




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                                                                        W/M0                        B/M
                                                                          (CRIMINAL                                    
                        ROBERTARTHURJONES,IV,“BOBBY”
                                                                         ASSOCIATE)
              “         KLOUTBOYJONES”                                                              (ASSOCIATE)
                        Ȁ     Ȁͳͻͻͻ
                                                                         DOC/PRISON
                                                                                                   JUVENILEPROBATION



                                                                             “    ”
                                                                          W/M


                                                                       (CRIMINALASSOCIATE)




   hWdϱͬϬϵͬϭϲ͗ EKhWd^


   hWdϬϱͬϬϯͬϭϲ͗      ,^EZ>^&ZKD:
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                                                                                              Exhibit 16 - Page 31 of 84

                                                                                                                            Defendant15459
Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 33 of 85 PageID 11869




                                     F
                    D1 Actionable Intelligence 070416 to 071016




                                                    Exhibit 16 - Page 32 of 84
                              ACTIONABLE INTELLIGENCE
                                  Law Enforcement Sensitive




                                 DISTRICT 1
                                CAPT SELTZER

                             JENNIFER HADFIELD
                             MITCHELL MORGAN
                                       (DISTRICT ANALYST)
                                            (10-hours)




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                                                                               Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 34 of 85 PageID 11870




                                                              Defendant13381
                                                                      ACTIONABLE INTELLIGENCE
                                                                                   Law Enforcement Sensitive
                                                                                             MINI AIM
                                                                                            (07/06/16)
                             PROPERTY CRIMES
                             (JERRY)- HAS 76 “PROLIFIC PAWNER’S” IN D1. HE IS CURRENTLY SETTING UP A LIST OF WHAT THEY HAVE PAWNED. HE IS HAVING PROBLEMS WITH THE SOFTWARE
                             PROGRAM.
                             (MULKEY)-.ARRESTED AND INTERVIEWED                 , HE CONFESSED TO THE BURGLARY AT HIS MOTHER’S HOME, BUT NOT TO OTHERS. HE ADVISED HE WAS IN MIAMI
                             WHEN SOME OF THE BURGALRIES OCCURRED.
                             (PFENNINGER)- HAS INTERVIEWED                        . HE ADVISED THAT THE ASO HAS DROPPED CHARGES ON HIM BEFORE AS THEY FEEL HE DOES NOT HAVE THE
                             MENTAL CAPACITY. HE IS LOOKING FOR                        SHE PAWNED JEWELRY FROM A BURGLARY. FEEL’S TYLER PANESON IS GETTING HELP FROM HIS MOTHER. HE
                             IS OBTAINING POI’S AND ADDITIONAL PROPERTY FROM WORD OF LIFE CHURCH.
                             (JUSTICE)- IS LOOKING FOR A             . SHE IS HOLDING THE VICTIM’S COMPRESSOR FOR RANSOM AS SHE BELIEVE’S THE VICTIM HAS HER CELL PHONE. WAS
                             WORKING THE BURGLARIES IN JASSMINE ESTATES AND LOOKING TO MEET WITH WITNESS FOR PHOTO PACK.
                             (HANSON)-IN REFERENCE TO QUAIL RIDGE COMMUNITY, HE WAS PROVIDED THE WRONG DATE FOR THE VIDEO OF THE VEHICLE GATES. HE IS ALSO TRYING TO GET WITH
                             A NEIGHBOR, WHO HAS VIDEO OF THE SUSPECT’S ENTERING THE VEHICLE THAT WAS STOLEN.
                             (MITCHELL)- MITCHELL- HAS BEEN CHECKING PAWN SHOPS TO VERIFY THYE ARE COMPLETING FORMS. HE RECEIVED AN EMAIL ABOUT                      IN REFERENCE TO
                             16-23197. HAS REACHED OUT TO VICTIM’S, BUT THEY HAVE NOT CONTACTED HIM. HAS BEEN MAKING CONTACT WITH PROLIFIC PAWNERS.
                             CODE ENFORCEMENT
                             (OJEDA)- WENT TO                  ’S HOME. HE WAS NOT THERE, BUT FOUND                AND             AT THE HOME.       ADVISED HE “JUST GOT OUT OF
                             PRISON.” HE ISSUED CITATIONS FOR ORDINANCE VIOLATIONS. HE ADVISED OF THE UPCOMING SWEEP IN MOON LAKE, CONCERNING TOP 5 AND ASSOCIATES.
                             STAR
                             (MORRIS)- INTERVIEWED                      , HE DENIED ANY INVOLVEMENT IN THE RECENT BURGLARIES. REVIEWED THE VIDEO FROM RECENT BURGLARIES IN
                             JASSMINE ESTATES AND THE SUBJECT APPEARS TO BE 5’8 SKINNY WITH CURLY HAIR. HE WAS GOING FROM CAR TO CAR. ADVISED THAT                         HAD BEEN
                             STAYING AT THE HOME OF                   .
                             ILO
                             (HAYES)- AT THE “JUNKYARD COLONY” THERE IS A MALE FROM TEXAS, WHO HAS A FELONY INDICTMENT FOR AN UNKNOWN CHARGE. HE IS AN ENFORCED FOR THE
                             ARYAN BROTHERHOOD. HE HAS DIFFERNET NAMES, SUCH AS              . HE HAS INTERVIWED “              ”, WHO ADVISED THAT “          ” IS
                                          . HEMAY HAVE ALREADY SOLD THE STOLEN FORD MUSTANG. HE ALSO SPOKE OF                       AND “GANG” DEALING DOPE.
                             ACE
                             (NYE)-ADVISED OF 2 HOME INVASIONS THAT HAD OCCURRED. HAD GONE TO HOME OF                        , WHERE HE LIVES WITH HIS MOTHER. IN HIS ROOM, HE HAS
                             NEW CLOTHING AND SHOES WITH TAGS STILL ON THEM. IT WAS LEARNED THAT HE DOES NOT WORK, BUT ALWAYS HAS MONEY. PARAPHERNALIA WITH CRACK WAS
                             FOUND IN HIS ROOM. HE ADVISED THAT HE SELLS TO PEOPLE HE KNOWS, BUT DENIES BEING A DRUG DEALER.
                             WARRANTS
                             (SKALA)- ASKED THAT SUPERVISORS PLEASE HAVE DEPUTIES COMPLETE DILIGENT SEARCH AND THAT ALL NOTES BE UPDATED.
                             MCU




Exhibit 16 - Page 34 of 84
                             (TONER)- ADVISED THAT                  SHOULD BE CONSIDERED A PROLIFIC OFFENDER. HE DENIED HAVING A GUN, WAS THERE TO SELL HE DRUGS. THE VICTIM
                             FROM HOME INVASION HAD LIED.         HAD APPEARED AT THE FIRST HOME INVASION.                     HAD COMMITTED THE HOME INVASION AND INVOLVED WITH
                                                                                                                                                                                       Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 35 of 85 PageID 11871




                                                 .                                                                                                              Defendant13389
                                                            ACTIONABLE INTELLIGENCE
                                                                       Law
                                                                        Law Enforcement  Sensitive
                                                                            Enforcement Sensitive

                                                          DISTRICT 1
                                                     TARGET OF THE MONTH
                                                                                 TYLER ROBERT PANESON
                                                     W/M, DOB:       /1984
                                                     LKA: 14343 THOMPSON AVE., HUDSON
                                                     CRIMINAL ACTIVITY: THEFT GRAND, POSSESS, SELL, DELIVER, MAKE
                                                     CONTROLLED SUBSTANCE, CARRYING CONCEALED FIREARM, FRAUDULENT
                                                     USE OF CREDIT CARD
                                                     ACTIVE PC FOR BURGLARY RESIDENCE AND GRAND THEFT
                                                     POINT OF CONTACT: DET. PFENNINGER 727-277-7116, DISTRICT 1
                                                     PROPERTY CRIMES

                         PAST 30 DAY CONTACT INFORMATION (MOST CURRENT ON TOP) (PASS INFO TO ILP@PASCOSHERIFF.ORG):




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                                                                                                                                       Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 36 of 85 PageID 11872




                                                                                                                      Defendant13395
                                                            ACTIONABLE INTELLIGENCE
                                                                  Law Enforcement Sensitive
                             INFO VALID AS OF 07/12/16 1046 HRS                                 DALANEA TAYLOR “BABY D”
                                                                            W/M                       W/F      /99
                                        VICTOR HERNANDEZ                                        5319 LUNA VISTA DR., NPR
                                          W/M 08/26/99                   (CRIMINAL ASSOCIATE)     (CRIMINAL ASSOCIATE)
                                                                              (VALID D/L)            (HOUSE ARREST)

                                                                            EDGARDO CRUZ
                                            W/M                              W/M 08/11/99             B/M
                                                                        9749 MOREHEAD LN., PR          UNKNOWN
                                         (CRIMINAL ASSOCIATE)             (FORMER FRIEND)               (FRIEND)
                                             (EXPIRED D/L)                 (JUV. PROBATION)          (NO VALID D/L)

                                                                                                       KELSEY BEAM
                                              “      ”                     W/M                         W/F 11/02/99
                                            B/M                                                  9504 E. COLUMBUS, TAMPA
                                                                              (FRIEND)             (CRIMINAL ASSOCIATE)
                                              (FRIEND)                    (D/L SUSPENDED)        (COMMITMENT PROGRAM)
                                          (D/L SUSPENDED)
                                                                                                        GAGE QUICK
                                           B/M                              B/M                       W/M 03/19/99
                                                                                                 8120 GOLDEN BEAR LP., PR
                                             (FRIEND)                    (CRIMINAL ASSOCIATE)     (CRIMINAL ASSOCIATE)
                                          (D/L REVOKED)                    (D/L SUSPENDED)            (NO VALID D/L)


                                                                                                      CHRISTIAN PABON
                                           B/M                              W/M                         W/M 11/19/98
                                                                                                1833 KNOLLWOOD DR., HOLIDAY
                                             (FRIEND)                         (FRIEND)              (CRIMINAL ASSOCIATE)
                                         (JUV. PROBATION)                 (SENTENCED 6 YRS)            (NO VALID D/L)




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                                                                                                                              Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 37 of 85 PageID 11873




                                                                                                         Defendant13409
Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 38 of 85 PageID 11874




                                    G
                    D1 Actionable Intelligence 071116 to 071716




                                                    Exhibit 16 - Page 37 of 84
                              ACTIONABLE INTELLIGENCE
                                  Law Enforcement Sensitive




                                 DISTRICT 1
                                CAPT SELTZER

                             JENNIFER HADFIELD
                             MITCHELL MORGAN
                                       (DISTRICT ANALYST)
                                            (10-hours)




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                                                                               Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 39 of 85 PageID 11875




                                                              Defendant13412
                                                                       ACTIONABLE INTELLIGENCE
                                                                                    Law Enforcement Sensitive
                                                                                               MINI AIM
                                                                                              (07/13/16)
                             PROPERTY CRIMES
                             (JERRY)-                  HAS PAWNED A BARETTA HANDGUN AND HE IS A FELON.                   , GIRLFRIEND OF                 , HAS PAWNED 3 NEW
                             GENERATORS AND OTHER NEW ITEMS.
                             (MULKEY)-.ARRESTED                . HAVE FINGERPRINT MATCH FOR                  FROM A 2014 BURGLARY.                   FOR STOLEN VEHICLE, WHO ADVISED
                             THAT HE GOT THE VEHCILE FROM                  .
                             (PFENNINGER)- ARRESTED                 AND HER BOYFRIEND                 FOR BURGLARYON SPICEBOX WAY. THEY ARE BOTH BLAMING THE OTHER. ALSO FOUND
                             AN OPEN DOOR ON ANOTHER HOME ON SPICE BOX WAY. THE OWNER LIVES UP NOTH.                   IS WORKING FOR A PLUMBING COMPANY. STILL LOOKING FOR TYLER
                             PANESON. CONFIRMED HIS PRINTS WERE ON THE FRONT PART OF A STOLEN GOLF CART, FOUND INSIDE THE STOLEN TRAILER. BELIEVE HIS MOTHER IS HIDING HIM AT 1
                             OF HER HOMES. WENT TO                      , LOOKING FOR                  . HE IS NO LONGER THERE. CHECKED ABANDONED TRAILERS ON GULFBREEZE AND THE
                             HOMELESS CAMP ON US19, BEHIND WALMART.HE WAS ADVISED THAT                STEALS BICYCLES. ARRESTED                    FPOR STOLEN VEHICLE. HE WAS WITH
                                            .          CLAIMS HE GOT THE VEHICLE FROM              .
                             (TURNBOW)-                  HAS A VOP WARRANT, STAYING IN NPR PD JURISDICTION.
                             (JUSTICE)- THE WITNESS IN EMBASSY HILLS AREA COULD NOT IDENTIFY         OR                    . THE RESIDENTS ON WESTWIND DO NOT KNOW ANYTHING. IN
                             GREENBRIAR, FOUND A WITNESS WHO ADVISED THAT            HAS GONE INTO A HOME. THEY HAVE SEEN             WEARING A HOODIE.
                             (HANSON)- HAS THE PICTURE OF THE VAN PLACED ON “CAUGHT ON CAMERA” AND “FACEBOOK” IN ATTEMPT TO IDENTIFY. HE SUSPECTS THE VSN COULD BE FROM THE
                             MOON LAKE AREA, DUE TO THE RECOVERY OF THE STOLEN VEHICLE. HE SUSPECT’S                         AS THE POI IN A BURGLAY-RESIDENCE.               IS FRIEND
                             OF                  .
                             (MITCHELL)- ARRESTED                 FOR FALSE OWNERSHIP. SHE ADVISED                   WAS WITH HER AND PROVIDED HER WITH THE GPS.

                             STAR
                             (MORRIS)- A NPR PD BANK ROBBERY SUSPECT WAS ARRESTED BY STAR, AFTER SURVEILLENCE OF HIS HOME. NPR PD RELEASED HIM, DUE TO “NO PC”.

                             ILO
                             (HAYES)- SWEENY OBTAINED VIDEO AFTER SEEING                    ON A MOTORCYCLE WITH ANOTHER UNKNOWN MALE. ATH ERACETRACK ON SR52. LOOKING TO
                             FILE DWLS-FELONY ON                .

                             ACE
                             (SCHYLER)-ADVISED          POSTED A CAMERA AND SPEAKERS FOR SALE. FOUND WITNESS WHO OBSEVRED 2 MALE S CARRYING BOXES, BELIEVED TO BE SPEAKERS.
                             (IZIZARRY)- ACE IS GOING BACK ON CASES. LOOKING FOR                AND ARRESTED         .
                             (BENNETT)- WENT TO                      FOR THE MOON LAKE SWWEP. LOOKED FOR               , HE WASN’T THERE. LEARNED THAT                  SISTER
                             IS DYING OF CANCER AND AT BAYONET POINT HOSPITAL. ARRESTED             .




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                             FORENSICS-ADVISED THERE WOULD NOT BE A FINGERPRINT EXAMINER AFTER FRIDAY (07/15/16).. HAVE HIRED SOMEONE, BUT THEY MUST TRAIN IN HERNANDO
                             COUNTY FIRST. ADVISED PINELLAS COUNTY WOULD NO LONGER DO FINGERPRINT ANALYSIS FOR PASCO
                                                                                                                                                                                          Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 40 of 85 PageID 11876




                                                                                                                                                                 Defendant13420
                                                            ACTIONABLE INTELLIGENCE
                                                                  Law Enforcement Sensitive
                             INFO VALID AS OF 07/19/16 0934 HRS                                 DALANEA TAYLOR “BABY D”
                                                                            W/M 1                     W/F      /99
                                                                                                5319 LUNA VISTA DR., NPR
                                          W/M 0                          (CRIMINAL ASSOCIATE)     (CRIMINAL ASSOCIATE)
                                                                              (VALID D/L)            (HOUSE ARREST)


                                            W/M                             W/M                       B/M
                                                                                                       UNKNOWN
                                         (CRIMINAL ASSOCIATE)              (FORMER FRIEND)              (FRIEND)
                                             (EXPIRED D/L)                 (JUV. PROBATION)          (NO VALID D/L)


                                              “      ”                     W/M                         W/F
                                            B/M
                                                                              (FRIEND)             (CRIMINAL ASSOCIATE)
                                              (FRIEND)                    (D/L SUSPENDED)        (COMMITMENT PROGRAM)
                                          (D/L SUSPENDED)


                                           B/M                               B/M 0                    W/M

                                             (FRIEND)                    (CRIMINAL ASSOCIATE)     (CRIMINAL ASSOCIATE)
                                          (D/L REVOKED)                    (D/L SUSPENDED)           (NO VALID D/L)



                                           B/M                              W/M                        W/M

                                             (FRIEND)                         (FRIEND)              (CRIMINAL ASSOCIATE)
                                         (JUV. PROBATION)                 (SENTENCED 6 YRS)            (NO VALID D/L)




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                                                                                                                           Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 41 of 85 PageID 11877




                                                                                                          Defendant13439
Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 42 of 85 PageID 11878




                                    H
                      D3 - Actionable Intelligence (01SEPT16)




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                                ACTIONABLE INTELLIGENCE
                                    Law Enforcement Sensitive




                                   DISTRICT 3
                                  CAPT JENKINS

                               MELINDA WERNER/
                             ALEX NAVARRO MCGAHA
                                        (DISTRICT ANALYSTS)
                                             (10 - hours)




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                                                                                 Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 43 of 85 PageID 11879




                                                                Defendant14613
                                      ACTIONABLE INTELLIGENCE
                                                 Law Enforcement Sensitive
                                          AIM MEETING NOTES 08/24/16

SGT THOMAS: DISCUSSED APPLIANCE THEFTS CONTINUING. ALSO TIRE THEFTS OCCURRED IN PINELLAS WITH THE ARREST OF                 (W/M
       ) AND                (W/M        ) IN PINELLAS, AN INFO FOR DEPUTY REPORT WILL BE DONE TO HIGHLIGHT THE SUSPECTS IN PASCO
RECORDS. ALSO DISCUSSED WAS                 WHO IMPERSONATES LAW ENFORCEMENT.

CODE: CELESTE/ STAR: MURPHY:            IS HOMELESS AND STEALS CHANGE, HE FREQUENTS THE AREA OF SUNRAY.

SRO:
CPL MILLS: SETH MANNING IS A NEW STUDENT AND ON JUVENILE PROBATION, HE HAS NUMEROUS BURGLARY ARRESTS AND HISTORY. DURING THE
SUMMER BREAK THERE WAS A BREAK IN AT THE SCHOOL, CURRENTLY WAITING ON PRINT RESULTS.

CPL SEKERES: AUBREY LEMONS FACEBOOK, NAME “QB ACE”, (DOB 05/09/00) POSTED ONLINE ABOUT “F***K ANCLOTE” AND PUT WEAPON EMOJI’S; HE
WAS EXPELLED FROM SCHOOL AND IS A FOSTER CHILD. ALEX PEREZ IS BEING SEARCHED EVERY DAY AT SCHOOL AND HAS BEEN ATTENDING AS WELL.

PINELLAS: DET ZINGE: ROBERT JONES, SR ARRESTED FOR FTA’S AND ROBERT JONES, JR’S CASE HAS BEEN CONTINUED. IT APPEARS JR AND     ARE
BACK TOGETHER.

PATROL: RECEIVED INFORMATION THAT “                   ” IS SELLING FLAKKA OFF               AND IS THE MAIN SUPPLIER IN THE AREA.




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                                                                                                                                     Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 44 of 85 PageID 11880
Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 45 of 85 PageID 11881




                                       I
                      D3 - Actionable Intelligence (15SEPT16)




                                                    Exhibit 16 - Page 44 of 84
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                ACTIONABLE INTELLIGENCE
                         Law Enforcement Sensitive




          DISTRICT 3
    CAPT JENKINS/SANBORN

      MELINDA WERNER/
    ALEX NAVARRO MCGAHA
                               (DISTRICT ANALYSTS)
                                    (12 - hours)




                                                                  Exhibit 16 - Page 45 of 84
                                                                                Defendant15692
              Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 47 of 85 PageID 11883


                              ACTIONABLE INTELLIGENCE
                                       Law Enforcement Sensitive

                                         DISTRICT 3
                                           TOP 5
                    - 59                     Number after                                           - 73
WM,
                                             name represents                WM, DOB
LKA:
                                                                            LKA:
CRIMINAL ACTIVITY: BURGLARY AUTO, THEFT      days on target list            CRIMINAL ACTIVITY: BATTERY, MARIJUANA
VEHICLE, TAMPER WITH ELECTRONIC MONITORING
                                                                            POSSIBLE, CURFEW VIOLATION
DEVICE, JPO, DOMESTIC BATTERY
                                                                            SANCTIONS: N/A (CHARGES PENDING)
SANCTIONS: N/A (CHARGES PENDING)




                                                         - 81
                        -25        W/M, DOB 1                                                        - 73
W/M                                LKA:
                                                                            W/M,
LKA:                               CRIMINAL ACTIVITY: VOP FELONY, AUTO
CRIMINAL ACTIVITY: THEFT VEH, BURG BURG, ROBBERY WITH A DEADLY WEAPON,      LKA:
                                                                            CRIMINAL ACTIVITY: DOMESTIC
AUTO, BURG RESIDENCE, RESIST W/OUT ATTEMPTED BURGLARY, GRAND THEFT, THEFT
                                                                            BATTERY, JPO, BURGLARY RESIDENCE,
VIOLENCE, THC POSSESSION, BATTERY, PETIT RETAIL, CRIM MISCHIEF, CARRYING    ROBBERY-NO WEAPON, RESIST OFFICER
POSSESSION, CO-ORD CURFEW          CONCEALED WEAPON, FTA CUREFEW VIOL       SANCTIONS: N/A (CHARGES PENDING)
SANCTIONS: N/A
             /                     SANCTIONS: N/A
                                                /                               Exhibit 16 - Page 46 of 84
                                                                                              Defendant15709
              Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 48 of 85 PageID 11884


                              ACTIONABLE INTELLIGENCE
                                       Law
                                        Law Enforcement  Sensitive
                                            Enforcement Sensitive
INFO VALID AS OF 09/13/16 1200 HRS                                                         DONNIE MCDOUGALL
                                                     WM                                       WM,       /00
                                                                                          3229 PRIMROSE DR, HOL
                                                      (COUSIN)                            3150 PRIMROSE DR, HOL
                                                    SUSPENDED DL                               (ASSOCIATE)



                                                      WM,                                      BM,

                                                  (CRIMINAL ASSOCIATE)                         (ASSOCIATE)


                     - 59
WM, DOB                                                WM
POSSIBLE ADDRESS:
                                                        (ASSOCIATE)

CRIMINAL ACTIVITY:
BURGLARY AUTO, THEFT VEH,
                                                     WM
DOM BATTERY, RESIST
OFFICER, TAMPER WITH ELEC                             (ASSOCIATE)
MONITORING DEVICE
SANCTIONS: N/A (CHARGES
PENDING)
JUVENILE                                             W/M
PROBATION/ELECTRONIC                             (CRIMINAL ASSOCIATE)
MONITORING
                                                                                Exhibit 16 - Page 47 of 84
Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 49 of 85 PageID 11885




                                      J
                    D1 Actionable Intelligence 092616 to 100216




                                                    Exhibit 16 - Page 48 of 84
                              ACTIONABLE INTELLIGENCE
                                  Law Enforcement Sensitive




                                 DISTRICT 1

                               CAPT STEFFENS

                               DIANE KOENIG
                             MITCHELL MORGAN
                                       (DISTRICT ANALYST)
                                            (10-hours)




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                                                                               Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 50 of 85 PageID 11886




                                                              Defendant13193
                                                ACTIONABLE INTELLIGENCE
                                                        Law Enforcement Sensitive
                                                                MINI AIM
                                                               (09/28/16)
                      PROPERTY CRIMES
                      (PFINNINGER)- HAD CHECKED                    ON THE CANAL, FROM THE RECENT BURGLARIES, AND
                      THERE WERE NO IMAGES OF USE. DID ATTEMPT TO INTERVIEW TYLER PANNESON’S MOTHER REFERENCE
                      HER RESIDENTIAL BURGLARY, BUT SHE IS NOT COOPERATIVE.
                      (JUSTICE)- HAS PC’S ON                                             ,                      , AND
                                      . HE HAS CHECKED ADDRESS IN RMS,       AND      AND ALL HAVE HAD NEGATIVE
                      RESULTS.
                      (HANSON)- STILL LOOKING TO INTERVIEW                 AND                    . HAS PC’S ON
                               ,               AND               .
                      (TURNBOW)- WORKING A CASE WITH VICTIM BRINGING                 TO HIS HOME FOR SEX, AFTER
                      SHOWERING SHE LEFT. THE VICTIM FOUND CHECKS MISSING.
                      (JERRY)- ADVISED                       AND                  HAVE PAWNED PROPERTY RECENTLY.
                      LISTED                   AS A PROLIFIC PAWNER.

                      FORENSICS
                      (SALINSKI)- PRINTS ARE STILL GOING TO TAMPA, STILL NEED TO HAVE ORBIT AND CID #’S.




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                                                                                                                            Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 51 of 85 PageID 11887




                                                                                                           Defendant13200
                                                            ACTIONABLE INTELLIGENCE
                                                                  Law Enforcement Sensitive
                             INFO VALID AS OF 10/04/16 0944 HRS                                 DALANEA TAYLOR “BABY D”
                                                                            W/M                       W/F      /99
                                        VICTOR HERNANDEZ                                        5319 LUNA VISTA DR., NPR
                                          W/M 08/26/99                   (CRIMINAL ASSOCIATE)     (CRIMINAL ASSOCIATE)
                                                                              (VALID D/L)            (HOUSE ARREST)

                                                                            EDGARDO CRUZ
                                            W/M                              W/M 08/11/99             B/M
                                                                        9749 MOREHEAD LN., PR          UNKNOWN
                                         (CRIMINAL ASSOCIATE)             (FORMER FRIEND)               (FRIEND)
                                             (EXPIRED D/L)                 (JUV. PROBATION)          (NO VALID D/L)

                                                                                                       KELSEY BEAM
                                              “      ”                     W/M                         W/F 11/02/99
                                            B/M                                                  9504 E. COLUMBUS, TAMPA
                                                                              (FRIEND)             (CRIMINAL ASSOCIATE)
                                              (FRIEND)                    (D/L SUSPENDED)        (COMMITMENT PROGRAM)
                                          (D/L SUSPENDED)
                                                                                                        GAGE QUICK
                                           B/M                              B/M                       W/M 03/19/99
                                                                                                 8120 GOLDEN BEAR LP., PR
                                             (FRIEND)                    (CRIMINAL ASSOCIATE)     (CRIMINAL ASSOCIATE)
                                          (D/L REVOKED)                    (D/L SUSPENDED)            (NO VALID D/L)


                                                                                                      CHRISTIAN PABON
                                           B/M                              W/M                         W/M 11/19/98
                                                                                                1833 KNOLLWOOD DR., HOLIDAY
                                             (FRIEND)                         (FRIEND)              (CRIMINAL ASSOCIATE)
                                         (JUV. PROBATION)                 (SENTENCED 6 YRS)            (NO VALID D/L)




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                                                                                                                              Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 52 of 85 PageID 11888
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                                     K
                     D3 - Actionable Intelligence (20 April 17)




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                                                                      Defendant15953
Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 55 of 85 PageID 11891




                                                              Big Four  D3 STAR BOX
                                                              (04/10/17  04/16/17)
BUSINESS BURGLARY
17 13667 (Xcell Wireless LLC, 2623 US 19, 04/11/17)




VEHICLE THEFTS
17 14181 (Speedway, 2023 US 19, HOL, 04/14/17)

                                                                               There is PC for           .
17 13697 (Construction Site, 4369 Sunray Dr, HOL, 04/10/17)


     Related Cases:
     17 14226 (Anclote High School, 04/14/17): Donnie McDougall,                       ,         , and


     17 13845 (Anclote High School, 04/12/17):



                   DONNIE MCDOUGALL




                                                                                           Exhibit 16 - Page 54 of 84

                                                                                                             Defendant15959
Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 56 of 85 PageID 11892




                                 DISTRICT 3
                                   TOP 5
                        28                                             63




            DALANEA TAYLOR  7             E  63                  28
             SQUAD GANG MEMBER




                                                    Exhibit 16 - Page 55 of 84

                                                                         Defendant15967
Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 57 of 85 PageID 11893




                                                                               


                           SQUAD GANG MEMBER
                                                SQUAD GANG MEMBER

                                                                       SQUAD GANG MEMBER




    DALANEA TAYLOR                                                     SQUAD GANG MEMBER

                                                BLOODS GANG MEMBER
    SANCTIONS


                                                                       SISTER
                           BLOODS GANG MEMBER   SQUAD GANG MEMBER




                                                           Exhibit 16 - Page 56 of 84

                                                                                    Defendant15970
Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 58 of 85 PageID 11894




          DALANEA TAYLOR

                                                                       MOTHER
                           AUNT




                                               PROLIFIC OFFENDER D1




                                               SQUAD GANG MEMBER
                           SQUAD GANG MEMBER


                                                                       DRUG OFFENDER PROBATION




                                                           Exhibit 16 - Page 57 of 84

                                                                                  Defendant15971
Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 59 of 85 PageID 11895




          DALANEA TAYLOR



                           SQUAD GANG MEMBER



                                                                     WESTSIDE PIRU BLOODS


                           VALENTINE BLOODS
                           MEMBER

                                               BLOOD GANG MEMBER




                                                                     SQUAD GANG MEMBER

                                               UNIVERAL PRECAUTION




                           GANG MEMBER




                                                         Exhibit 16 - Page 58 of 84

                                                                                Defendant15972
Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 60 of 85 PageID 11896




          DALANEA TAYLOR



                                                 FELONY PROBATION
                                                 ABSCONDER/FUGITIVE
                           SQUAD GANG MEMBER
                           FELONY PROBATION




                                                 DRUG OFFENDER PROBATION
                           BLOOD GANG MEMBER




                           COUSIN
                           SQUAD GANG MEMBER,
                           PROLIFIC OFFENDER     COUSIN
                           CONDITIONAL RELEASE   SQUAD GANG MEMBER,
                                                 PROLIFIC OFFENDER
                                                 CONDITIONAL RELEASE




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                                                                            Defendant15973
Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 61 of 85 PageID 11897




                                      L
                      D3 - Actionable Intelligence (20 Sept 18)




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                                                    Exhibit 16 - Page 65 of 84
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                                    M
                         D1-Actionable Intelligence 6.6.18




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                                     N
                         D1-Actionable Intelligence 6.13.18




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                                                    Exhibit 16 - Page 72 of 84

                                                                Defendant13949
                                                                                      1
Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 74 of 85 PageID 11910




                          Law Enforcement Sensitive – Not For Public Release



               at                            was issued 2 citations for accumulation of junk and
   debris and overgrown conditions totaling $436.            is an associate of former D1 Top 5,
              and he is also a convicted felon.

                  at                          was issued 1 citation for storing inoperative
   vehicles x6 totaling $1,018.00

                  aka              at                            was issued 2 citations for storing
   inoperative vehicles x6 and lack of address totaling $1,643

   Darlene Deegan at 14137 Amanda Ave., Hudson was issued 5 citations totaling $1,840




                                                                 Exhibit 16 - Page 73 of 84

                                                                                 Defendant13958
                                                                                                      7
Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 75 of 85 PageID 11911




                           Law Enforcement Sensitive – Not For Public Release



                  and               at                                were each issued 3 citations
   for a grand total of $1,983




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                                                                                 Defendant13959
                                                                                                     8
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                      DETAINED
                                                           DISTRICT 1 TOP 5
                                                               INFO VALID AS OF 6/12/18 1100 HRS


                                   31 DAYS
                                                         Number after name represents days on target list
                                                                                                                                          42 DAYS
                        W/M,                                                                                               W/M, DOB: 1
                     HOMELESS, HUDSON
       CRIMINAL ACTIVITY: GRAND THEFT, VEHICLE THEFT,                                                             CRIMINAL ACTIVITY: METHAMPHETAMINE
      DEALING IN STOLEN PROPERTY, POSSESS CONTROLLED                                                                 POSSESSION, FELON IN POSSESSION OF
         SUBSTANCES, FELON IN POSSESSION OF FIREARM,                                                                AMMUNITION, FELON IN POSSESSION OF
       ROBBERY NO WEAPON, KIDNAP INFLICT BODILY HARM                                                              FIREARM, POSSESSION OF PARAPHERNALIA,
        OR TERRORIZE, METHAMPHETAMINE POSSESSION,                                                                             VEHICLE THEFT
      SCHEME TO DEFRAUD, RESIDENTIAL BURGLARY, ARMED
            BURGLARY, CARRY CONCEALED FIREARM
                           PC                                                              42 DAYS
                                                                         W/M, DOB:
                                                                             HOMELESS
                                                                      LKA:
                                                                ALERT: CRIMINAL TRESPASS WARNING
                                                                     (FROM HUDSON, WALMART)
                                                                 CRIMINAL ACTIVITY: LOITERING AND
                  TYLER PANESON  10 DAYS                      PROWLING, DWLSR, THEFT VEHICLE, PETIT
                      W/M, DOB:       /84                      THEFT, METHAMPHETAMINE POSSESSION,
                                                                                                                                          24 DAYS
                 14137 AMANDA AVE., HUDSON                    FELON IN POSSESSION OF A FIREARM, RETAIL
                                                                                                                            W/M, DOB:
     CRIMINAL ACTIVITY: GRAND THEFT, METHAMPHETAMINE                         THEFT, VOP
       POSSESSION, BURGLARY STRUCTURE, RETAIL THEFT,
                                                                                                                    CRIMINAL ACTIVITY: VEHICLE THEFT,
      RESIDENTIAL BURGLARY, BUSINESS BURGLARY, VEHICLE
                                                                                                                    VIOLATION OF PROBATION, OCCUPIED
        THEFT, POSSESS/SEE/DELIVER/MAKE CONTROLLED
                                                                                                                         CONVEYANCE BURGLARY
     SUBSTANCES, CARRY CONCEALED FIREARM, FRAUDULENT
                     USE OF A CREDIT CARD
                   ACTIVE PC: GRAND THEFT




   Since                                  has been in jail, he has had contact with              who resides at
                                            and uses phone #                  .     has no history in RMS.

   Tyler Paneson still has PC for auto theft. Det. Brooks attempted contact with Paneson at
   his residence on 6/7/18 with negative contact. Cpl. Davilla made contact with Tylers
   mother on 6/8/18. She refused to let LEO on the property to hearch the house or RV. She
   stated Tyler does not live at the residence nor has he been there. She was uncooperative
   with providing any information.




                                                                                                         Exhibit 16 - Page 75 of 84

                                                                                                                       Defendant13965
                                                                                                                                                          14
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       INFO VALID AS OF 5/22/18 1100 HRS     DETAINED
                                                           W/M                            W/F,                   W/F,
                ACTIVE PC                                                               7834
                                                        ALERT: CARRIES GUN


                                                                             DETAINED
                                                                                          W/M,                   W/M,
                                                           AKA:
                                                                                                                               .,
                                                          W/M,
                                                                                                                        NPR


                                             DETAINED
                                                                                                                   W/F,
            TYLER PANESON  10 DAYS                                                       W/M,
                                                           W/F,
              W/M, DOB:       /84
           14137 AMANDA AVE., HUDSON                                                                          ALERT: CARRIES NEEDLES
    ALT LOCATION: 5907 BEVERLY DR., HUDSON
        CRIMINAL ACTIVITY: GRAND THEFT,
         METHAMPHETAMINE POSSESSION,
      BURGLARY STRUCTURE, RETAIL THEFT,                                                     W/M,                   W/M,
        RESIDENTIAL BURGLARY, BUSINESS                     W/F,
            BURGLARY, VEHICLE THEFT,                                                       GANG MEMBER
           POSSESS/SEE/DELIVER/MAKE                                                                              PROLIFIC OFFENDER
         CONTROLLED SUBSTANCES, CARRY
    CONCEALED FIREARM, FRAUDULENT USE OF
                 A CREDIT CARD




                                                                                                 Exhibit 16 - Page 76 of 84

                                                                                                             Defendant13968
                                                                                                                                       17
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   INFO VALID AS OF 5/22/18 1100 HRS                                 DETAINED
                                                    W/M,                         W/M,                     W/M,

                                                                                                          GANG MEMBER
                                                   FAMILY VIOLENCE

                                       DETAINED                                                DETAINED
                                                                                W/M,                       W/M,
                                                     W/M,
                                                  UNKNOWN LOCATION                                         DRUG DEALER




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                                                                                                     Defendant1396
                                                                                                                         18
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                                    O
                         D1-Actionable Intelligence 8.1.18




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   DISTRICT 1
CAPTAIN IRIZARRY
                                                                                          Defendant14430




                                                                     Exhibit 16 - Page 79 of 84
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                                                    District 1 Top 5 Offenders
                                                               INFO VALID AS OF 7/31/18 1000 HRS


                           – 37 DAYS
                                                        Number after name represents days on target list
                                                                                                                                          – 90 DAYS
                  W/F,                                                                                                       W/M, DOB:
  CRIMINAL ACTIVITY: MARIJUANA POSSESSION, VOP,                                                                     CRIMINAL ACTIVITY: METHAMPHETAMINE
POSSESSION OF CONTROLLED SUBSTANCE, CONTEMPT OF                                                                        POSSESSION, FELON IN POSSESSION OF
  COURT, POSSESSION OF PARAPHERNALIA, DOMESTIC                                                                        AMMUNITION, FELON IN POSSESSION OF
   BATTERY, DWLSR, POSSESS METHAMPHETAMINE,                                                                         FIREARM, POSSESSION OF PARAPHERNALIA,
     POSSESS/DELIVER/SELL/MAKE CONTROLLED                                                                                       VEHICLE THEFT
SUBSTANCE, GRAND THEFT, AUTO BURGLARY, BATTERY

                 DETAINED
                                                                                                                                    JDC

                                                                                       – 8 DAYS
                                                                       W/M, DOB:
                                                                 LKA:
             TYLER PANESON – 59 DAYS                              ALERT: PROLIFIC OFFENDER
                 W/M, DOB:       /84                          CRIMINAL ACTIVITY: VEHICLE THEFT,
                                                                                                                                          – 72 DAYS
            14137 AMANDA AVE., HUDSON                       CONTEMPT OF COURT, FRAUDULENT USE OF
                                                                                                                              W/M, DOB:
CRIMINAL ACTIVITY: GRAND THEFT, METHAMPHETAMINE            CREDIT CARD, DWSLR, POSSESSION OF DRUGS
   POSSESSION, BURGLARY STRUCTURE, RETAIL THEFT,           W/O PRESCRIPTION, FELONY BATTERY, RETAIL
                                                                                                                      CRIMINAL ACTIVITY: VEHICLE THEFT,
 RESIDENTIAL BURGLARY, BUSINESS BURGLARY, VEHICLE                           THEFT
                                                                                                                      VIOLATION OF PROBATION, OCCUPIED
   THEFT, POSSESS/SEE/DELIVER/MAKE CONTROLLED
                                                                                                                           CONVEYANCE BURGLARY
SUBSTANCES, CARRY CONCEALED FIREARM, FRAUDULENT
                                                                                                                          ADMITTED TO JDC ON 7/5/18
                USE OF A CREDIT CARD
                                                                                                                      PROJECTED RELEASE DATE: 8/14/18
                                                                                                                                     Defendant14441
                                        Law
                                          w Enforcement
                                                      t Sensitive
                                                                e – Not
                                                                      t For
                                                                          r Public
                                                                                 c Release


                                                                                                           Exhibit 16 - Page 80 of 84
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  INFO VALID AS OF 7/31/18 1000 HRS     DETAINED
                                                      W/M,                         W/F,                          W/F,
         DETAINED
                                                   ALERT: CARRIES GUN


                                                                        DETAINED
                                                                                   W/M,                          W/M,
                                                      AKA:
                                                     W/M,




                                                                                                                   W/F,
       TYLER PANESON – 59 DAYS                       W/F,
                                                                                   W/M,
          W/M, DOB:      /84
      14137 AMANDA AVE., HUDSON                      OUT ON BOND
                                                                                                              ALERT: CARRIES NEEDLES
ALT LOCATION: 5907 BEVERLY DR., HUDSON
   CRIMINAL ACTIVITY: GRAND THEFT,
    METHAMPHETAMINE POSSESSION,        WARRANTS                         WARRANT
  BURGLARY STRUCTURE, RETAIL THEFT,                                                  W/M,                          W/M,
    RESIDENTIAL BURGLARY, BUSINESS                    W/F,
       BURGLARY, VEHICLE THEFT,                                                     GANG MEMBER
      POSSESS/SEE/DELIVER/MAKE                                                                                   PROLIFIC OFFENDER
    CONTROLLED SUBSTANCES, CARRY
CONCEALED FIREARM, FRAUDULENT USE OF
            A CREDIT CARD
                                                                                                                    Defendant14442
                                      Law
                                        w Enforcement
                                                    t Sensitive
                                                              e – Not
                                                                    t For
                                                                        r Public
                                                                               c Release


                                                                                             Exhibit 16 - Page 81 of 84
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                                     P
                         D1-Actionable Intelligence 7.3.19




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                                                                          Defendant14149
                                                      CAPTAIN IRIZARRY
                                                         DISTRICT 1




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                                                             Patrol Initiated Ordinance Citations
                                                                  (06/25/19 to 07/01/19)


  Case #                                Offense              Defendant         Prior Ordinance Citations          Address             Date   Zone     Deputy
                                                                                                                                    Occurred
19026491 Co Ord- Roadway Solicitation Violation                              Roadway Solicitation – 1      Homeless, Port Richey   06/26/19 O5    R. Ashley
                                                                             Tres Warn Public Property – 1                         1520
19026618 Co Ord- Land Overgrown Conditions             Darlene Deegan    /51 Permitted Use – 1             14137 Amanda Ave,       06/27/19 G4    M. MacDougall
                                                                             Polluted Water Discharge – 1  Hudson                  1305
                                                                             Parking/Storing Comm Vehs – 1
                                                                             Standards for Numbering – 1
                                                                             Accumulation of Debris
19027016 Co Ord- Standards for Numbering                                     Accumulation of Debris – 1                            06/13/19 O6    M. Rodrigues
19027017 Co Ord- Public Safety Violation-                                                                                          1402
         Unsecured Refrigerator




                                                  Law
                                                    w Enforcement
                                                                t Sensitive
                                                                          e – Not
                                                                                t For
                                                                                    r Public
                                                                                           c Release                                          Defendant14165




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                                                                                                                                                            Case 8:21-cv-00555-SDM-CPT Document 155-1 Filed 06/24/22 Page 85 of 85 PageID 11921
